Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
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Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
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Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
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Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 4 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 5 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
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Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
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Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
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Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
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Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 10 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
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Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 12 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 13 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 14 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
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Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
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Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 17 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
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Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 19 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
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Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 21 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
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Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 23 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 24 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 25 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 26 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 27 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 28 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 29 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 30 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 31 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 32 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 33 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 34 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 35 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 36 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 37 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 38 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 39 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 40 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 41 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 42 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 43 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 44 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 45 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 46 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 47 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
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Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
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Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
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Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 51 of 67               Anejo C
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 52 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 53 of 67               Anejo D
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 54 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 55 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 56 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 57 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 58 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
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Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 60 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 61 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 62 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 63 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 64 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 65 of 67
Case:17-03283-LTS Doc#:19807-2 Filed:01/18/22 Entered:01/18/22 13:06:57   Desc:
              Exhibit Exhibit 2 Development Agreement Page 66 of 67
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